Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 1 of 19




                      EXHIBIT “A”
                     Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 2 of 19




                                                                                                                         null / ALL
                                                                                                     Transmittal Number: 23351319
Notice of Service of Process                                                                            Date Processed: 06/16/2021

Primary Contact:           Claims Manager
                           Peerless Insurance Company
                           100 Liberty Way
                           Dover, NH 03820-4597

Entity:                                       Ohio Security Insurance Company
                                              Entity ID Number 2315969
Entity Served:                                Ohio Security Insurance Company
Title of Action:                              Dollar Plus & Beauty, Inc. vs. Ohio Security Insurance Company
Matter Name/ID:                               Dollar Plus & Beauty, Inc. vs. Ohio Security Insurance Company (11320458)
Document(s) Type:                             Notice and Complaint
Nature of Action:                             Contract
Court/Agency:                                 Philadelphia County Court of Common Pleas, PA
Case/Reference No:                            003091 May 2021
Jurisdiction Served:                          Massachusetts
Date Served on CSC:                           06/14/2021
Answer or Appearance Due:                     20 Days
Originally Served On:                         Liberty Mutual on 06/14/2021
How Served:                                   Client Direct
Sender Information:                           Vincent Doto
                                              215-568-2900

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
  Jonathan Wheeler, 15qu1re


                                                                      WH -r
  jwheeterwdbegal.com             Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 3 of 19
                                                                                                                      PHILADELPHIA OFFIC
  Anthony DiUlio, Esquire
                                                                              E ELER
   dit:Uc :NdblegaLcom
                                                                      T--%T T                                            21 5.5682900
 Mario Barnabei, Esquire
 mbarnabei@wrb!egal.com                                                     U L J1100-1 &                         0 215.5682901
                                                                                                                  01
                                                                                                                 1,     1617 JFK Boulevard
 Micbaet J. Casper. Esquire
 ncspersvdbtegatcom
 Vincent J. Onto, Esquire
                                                                      BARNAB"El                                         Suits 1270
                                                                                                                        Philsdelphs PA 1910

 vc h'?'wdbtegaLcorn                            THE PROPERTY DAMAGE ATTO                                         NEW JERSEY OFFICE
 Alisa Thammavong, Esquires
                                                                          RNEYS
 aEhamn,ayong@SdblegaLcom                                www.wdblegal.com                                    '         85687&1A47

 AdmItted to PA & NJ Bars
                                                                                                             O 2155682901
'Admit t ed to PA Bar only                                                                                  I          1040 Kings Highway N-.)W
                                                                                                                       Suite 20 5
                                                                                                                       Cherry HU. tJ 03034



                                                                                            E-mail: vdoto@wdblegaLcom

                                                                   June 7, 2021
                 Ohio Security Insurance Company
                 175 Berkeley Street
                 Boston, MA 02117


                              RE:     Dollar Plus & Beauty, Inc. v. Liberty Mu
                                                                               tual
                                      DOL:
                                      Loss Address: 55 Downey Drive, Horsha
                                                                              m, PA 19044
                Dear Sir or Madam:

                       Enclosed please find a true and correct
                                                               copy of Plaintiff's Civil Action Complai
               against you in Court. Please be advised                                                   nt filed
                                                        that you have twenty (20) days in which
               this Complaint, pursuant to the Pennsy                                              to respond to
                                                      lvania Rules of Civil Procedure, otherwi
               judgment may be filed against you.                                               se a default

                             Kindly forward this Complaint to your atto
                                                                       rney immediately.

                                                                 Sincerely,


                                                                Is'
                                                                VINCENT DOTO
             VIA CERTIFIED AND REGULAR MA
                                          IL
             NO.: 7018 113000014471 1836




                     h- : li'ji
                         Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 4 of 19
             Court ot Common Pleas of Philadelphia County
                           Trial Division
                         Civil Cover Sheet                                                                    KAY
                                                                                                              -




                                                                                                                                                   003Oi.
     PLAINTIFF'S NAME
      DOLLAR PLUS                                                                           DEFENDANTS NAME
                         &   BEAUTY, INC.
                                                                                              OHIO SECURITY INSURANCE COMPANY

    PLAINTIFFS ADDRESS
     55 DOWNEY DRIVE                                                                        DEFENDANTS ADDRESS
     HORSHAM PA 19044                                                                        175 BERKELEY STREET
                                                                                             BOSTON MA 02117

    PLAINTIFFS NAME
                                                                                         DEFENDANT'S NAME



   PLAINTIFF'S ADDRESS
                                                                                        DEFENDANT'S ADDRESS




   PLAINTIFF'S NAME
                                                                                        DEFENDANTS NAME



   PLAINTIFFS ADDRESS
                                                                                        DEFENDANT'S ADDRESS




   TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS
                                                                              COMMENCEMENT OF ACTION
                  1                                      1                    -L} Gomplaint      0                Petition Action              0      Notice of Appeal
                                                                              [Di Wiit f Summons 0                Transfer From Other Jurisdictions
  AMOUNT IN CONTROVERSY            COURT PROGRAMS
                                                                                   -                  -   -


  0 $50,00000 or less           0 Arbitration                   0        Ms 1ort                          0 t ommerce
                                [J Jury                         0
                                                                                              -   -
                                                                                                                                             0     Settlement
  Ill More than $50,000.00      0 Non-Jury
                                                                         Savings ALtibn t                 0       Minor Court Appeal         0     Minors
                                                                0        Petition                         0       Statutory Appeals          0
                                El Other:                                -
                                                                                        -
                                                                                                                                                   WID/Survival
  CASE TYPE AND CODE
                                                     -


    10   -   CONTRACTS OTHER
                                                                     -




  STATUTORY BASIS FOR CAUSE OF ACTION




 RELATED PENDING CASES (LIST BY CASE CAPTIO
                                              N AND DOCKET NUMBER)
                                                                                       ALM                                     IS CASE SUBJECT TO
                                                                              Ro        PROTHY                                 COORDINATION ORDER?
                                                                                                                                            YES            NO
                                                                             JUN 03 2021
                                                                                  S. RICE
TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Pet
                                                               itioner/Appellant: DOLLAR PLUS & BEAUTY, INC.
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETSTIONER'SIAPPELLANTS
                                              ATTORNEY                            ADDRESS
  VINCENT DOTO                                                                         1617 JFK BLVD
PHONE NUMBER
                                                                                       SUITE 1270
                                        FAX NUMBER
                                                                                       PHILADELPHIA PA 19103
  (215)568-2900                         (215) 568-2901
SUPREME COURT IDENTIFICATION NO.
                                                                                  E-MAIL ADDRESS
 326O'/
                                                                                   VDOTO@WDBLEGAL. COI'i
SIGNATURE OF FILING ATTORNEY DR PARTY
                                                                                  DATE SUBMITTED
 VINCENT DOTO
                                                                                   Thursday, June 03, 2021, 04:36
                                                                                                                  pm
                                                  FINAL COPY (Approved by the Prothonotary Clerk)
           Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 5 of 19




                                                                      MAJOR CASE
                                                                      JURY TRIAL DEMANDEI?iled a]id Attgted 2 y tMe
                                                                      ASSESSMENT OF DAMXL     141tTudgta1 Records
                                                                                                      03 JWJ       021      4    6 pm
 WHEELER, DIULIO & BARNABEI, PC
 BY: Vincent Doto, Esquire                                                                             Attoniy:àintiff
 Attorney I.D. No.: 326037
 One Penn Center Suite 1270
                        -



 1617 JFK Boulevard
 Philadelphia, PA 19103
 Phone: (215) 568-2900
 Email: vdoto(wdb1etai.eom
   DOLLAR PLUS & BEAUTY, INC.
                                                                    COURT OF COMMON PLEAS
   55 Downey Drive
                                                                    PHILADELPHIA COUNTY
   Horsham, PA 19044

                                                                    DOCKET NO.
   OHIO SECURITY INSURANCE
   COMPANY
   175 Berkeley Street
   Boston, MA 02117

                               CIVIL ACTION COMPLAINT (1C Contract)                -




            You have been sued in court. If you wish to defend               Le has deinandado a usted en Ia corte. Si usted quiere
against the claims set forth in the following pages, you must     defenderse de estas dernandas expuestas en las paginas
take action within twenty (20) days after this complaint and      siguientes, usted tiene vemte (20) dias de plazo al partir de la
notice are served, by entering a written appearance personally    fecha de la demands y la notificacion. Hace falta ascentar una
or by attorney and filing in writing with the court your          comparencia escrita o en persona o con un abogado y entregar
defenses or objections to the Claims set forth against you. You   a la corte en forma escrita sus defensas o sus objeciones a las
are warned that if you fail to do so the case may proceed         demandas en contra de su persona. Sea avisado que si usted no
without you and a judgment may be entered against you by the      se detlende, la corte tomara medidas y puede continuar la
court without further notice for any money claimed in the         demanda en contra soya sin previo aviso o notificacion.
complaint or for any other claim or relief requested by the       Ademas, la corte puede decider a favor del demandante y
plaintiff. You may lose money or property or other rights         requiere que usted cumpla con todas las provisiones de esta
important to you.                                                 demanda. Usted puede perder dinero o sus propiedades u otros
           YOU SHOULD TAKE THIS PAPER TO YOUR                     derechos importantes para usted.
LAWYER AT ONCE. IF YOU DO NOT HAVE A                                        LLEVE ESTA DEMANDA A UN ABOGADO
LAWYER, GO TO OR TELEPHONE THE OFFICE SET                         IMMEDIATAMENTE. SI NO BENE ABOGADO 0 ST NO
FORTH BELOW TO FIND OUT WHERE YOU CAN GET                         TIENE EL DINERO SUFTCIENTE DE PAGAR TAL
LEGAL HELP.                                                       SERVICIO. VAYA EN PERSONA 0 LLAME POR
                                                                  TELEFONO A LA OFICINA CUYA IMRECCION SE
          PHILADELPHIA BAR ASSOCIATION                            ENCUENTRA ESCRITA ABAJO PARA AVERIGUAR
                Lawyer Referral Service                           DONDE SE PUEDE CONSEGUIR ASISTENCIA LEGAL.
               1101 Market St., 11th Floor                           ASOCIACION DE LICENCIADOS DE FILADELFIA
              Philadelphia, PA 19107-2911                                  Serviclo De Referencia B Informacion Legal
                 Telephone: 215-238-6333                                          1101 Market Street, 11th Floor
                     Fax: 215-238-1159                                            Filadelfia, Pennsylvania 19107
                                                                                          (215) 238-6333




                                                                                                                     Case ID: 210503091
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                                                              MAJOR CASE
                                                              JURY TRIAL DEMANDED
                                                              ASSESSMENT OF DAMAGES REQUIRED.

  WHEELER, IMULlO & BARNABEI, P.C.
  BY: Vincent Doto, Esquire                                                            Attorney for Plaintiff
  Attorney I.D. No.: 326037
  One Penn Center Suite 1270
                         -


  1617 JFK Boulevard
  Philadelphia, PA 19103
  Phone: (215) 568-2900
  Email: vdoto(21wdblega1.com
    DOLLAR PLUS & BEAUTY, INC.
    55 Downey Drive                                         COURT OF COMMON PLEAS
   Horsham, PA 19044                                        PHILADELPHIA COUNTY

              vs.
                                                           1ISIsIEVE[•J
    OHIO SECURITY INSURANCE
    COMPANY
    175 Berkeley Street
    Boston, MA 02117

                             CIVIL ACTION COMPLAINT (IC Contract)      -




         1.          Plaintiff, Dollar Plus & Beauty, Inc. (hereinafter, referred to as "Plaintiff'), is a

 business entity which operates at the address set forth above.

        2.           Defendant, Liberty Mutual Insurance (hereinafter, referred to as "Defendant"), is

 a corporation duly organized and existing which is authorized to conduct business as an

insurance company within the Commonwealth of Pennsylvania and maintains a place
                                                                                                of business
for that purpose at the address set forth above and regularly issues policies of insurance
                                                                                                   within
the City and County of Philadelphia.

                    Defendant, in its regular course of business issued to Plaintiff a policy of

insurance ("the Policy") covering Plaintiffs property located at 55 Downey Drive, Horsha
                                                                                                    m, PA
19044 ("the Property"). A true and correct copy of the declarations page of said policy
                                                                                        is
attached hereto and incorporated herein as Exhibit "A."

       4.           On or about 6/2/2021, while the Policy was in full force and effect, Plaintiff

suffered direct physical loss and damage to the insured Property believed to be the result
                                                                                                   of a


                                                                                                  Case ID: 210503091
               Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 7 of 19


11
       peril insured against under the Policy, resulting in damage to .the insured premises and
                                                                                                  those
      areas.

                5.     Notice of this covered loss was given to Defendant in a prompt and timely manner

      and Plaintiff, at all relevant times, fully complied with all of the terms and conditions required
                                                                                                           by
      the Policy.

               6.     Defendant, despite demand for benefits under the Policy, has refused, without

      legal justification or cause, and continues to refuse, to pay to Plaintiff monies owed for the

      damages suffered as a result of the Loss.

               7.     Solely as a result of Defendants failure and refusal to pay benefits to Plaintiff as

      required under the Policy, Plaintiff has suffered loss and damage in an amount in excess
                                                                                                     of
     $50,000.00 but less than $75,000.00.

                                                 COUNT I
                                      In Assumpsit Breach of Contract
                                                     .




               8.     Plaintiff incorporates by reference the facts and allegations contained in the

     foregoing paragraphs as though fully set forth hereinafter at length.

               9.    Defendant is obligated by the terms of the contract to indemnify Plaintiffs loss.

            10.      Despite submission of reasonable proof and demand for full and complete

     payment with respect to Plaintiff's Loss, Defendant has not paid to Plaintiff all of the policy

     benefits to which Plaintiff is entitled under the Policy and has refused to provide funds sufficien
                                                                                                          t
 to bring Plaintiff's property to pre-loss condition.

            ii.      Defendant's denial of coverage was made without a reasonable basis in fact.

            12.      Defendant's refusal to indemnify Plaintiff's loss constitutes a breach of the

 insurance contract.

            WHEREFORE, Plaintiff demands judgment against Defendant in an amount in excess

 of $50,000.00 together with interest and court costs.




                                                                                                Case ID: 210503091
           Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 8 of 19




                                                 COUNT II
                                       In Trespass 42 Pa.C.S.A. §8371

           13.        Plaintiff incorporates by reference the facts and allegations contained in the

  foregoing paragraphs as though fully set forth hereinafter at length.

           14.    Defendant has engaged in bad faith conduct toward Plaintiff with respect to its

 adjustment of Plaintiffs covered Loss, in violation of 42 Pa.C.S.A. §8371 et seq.

           15.    In furtherance of its bad faith and wrongful denial and refusal to pay benefits for

 Plaintiffs covered Loss, Defendant, acting by and through its duly authorized agents, servants
                                                                                                         ,
 workmen or employees has engaged in the following conduct;

                  a.        by sending correspondence falsely representing that Plaintiff's loss caused

 by a peril insured against under the Policy was not entitled to benefits due and owing under the

 Policy;

                 b.         in failing to complete a prompt and thorough investigation of Plaintiff's

 claim before representing that such claim is not covered under the Policy;

                 C.         in failing to pay Plaintiff's covered loss in a prompt and timely manner;

                 d.         in failing to objectively and fairly evaluate Plaintiffs claim;

                 e.         in conducting an unfair and unreasonable investigation of Plaintiffs

claim;

                 f.        in asserting Policy defenses without a reasonable basis in fact;

                 g.        in flatly misrepresenting pertinent facts or policy provisions relating to

coverages at issue and placing unduly restrictive interpretations on the Policy and/or claim

forms;

                 h.        in failing to keep Plaintiff or their representatives fairly and adequately

advised as to the status of the claim;

                                                                                                Case ID: 210503091
          Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 9 of 19


                   i.      in unreasonably valuing the loss and failing to fairly negotiate the amount

   of the loss with Plaintiff or their representatives;

                  j.      in failing to promptly provide a reasonable factual explanation of the basis

  for the denial of Plaintiff's claim;

                  k.      in unreasonably withholding policy benefits;

                  1.      in acting unreasonably and unfairly in response to Plaintiff's claim;

                  M.      in unnecessarily and unreasonably compelling Plaintiff to institute this

  lawsuit to obtain policy benefits for a covered loss, that Defendant should have
                                                                                     paid promptly
 and without the necessity of litigation.

         16.      For the reasons set forth above, Defendant has acted in bad faith in violation
                                                                                                   of 42
 Pa.C.S.A. §8371, for which Defendant is liable for statutory damages includi
                                                                                 ng interest from the
 date the claim was made in an amount equal to the prime rate of interest plus
                                                                                 three percent, court
 costs, attorneys fees, punitive damages, and such other compensatory and/or
                                                                             consequential
 damages as are permitted by law.

         WHEREFORE, Plaintiff demands judgment against Defendant in an amoun in
                                                                            t excess
of $50,000.00 together with interest, court costs, counsel fees and damag for
                                                                         es   delay.


                                                WHEELER DIULIO & BARNABBI, P.C.


                                                BY:       Is! Vincent Doto
                                                          VINCENT DOTO, ESQUIRE
                                                          Attorney for Plaintiff(s)

Date: 5/28/2021




                                                                                           Case ID: 210503091
       Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 10 of 19


                                         VERIFICATION



        I, Vincent Doto, counsel for Plaintiff, verify that the statements contained in the

foregoing document are true and correct to the best of my knowledge, information and belief,

and are made subject to the penalties of 18 Pa.C.S. §4904, relating to unswom falsification to

authorities.



                                              WHEELER DIULIO & BARNA13EI, P.C.


                                             11Y     is! Vincent Doto
                                                     VINCENT DOTO, ESQUIRE
                                                     Attorney for Plaintiff(s)




                                                                                         Case ID: 210503091
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                                                            Case ID: 210503091
                            Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 12 of 19
                                                         Coverage is Provided In:
                            Liberty                                                                                 Policy Number:
                                                         Ohio Security Insurance Company
                            Mutual.                                                                                RZS (20) 58            24
                            INSURANCE                    9450 Seward Road, Fairfield , Ohio 45014                  Policy Period:
                                                                                                                  'From 08/3112819 To 08/31/2029
                                                                                                                   12:01 am Standard Time
                                                         Commercial          Protector Common                    I at Insured Mailing Location
                                                         Policy Declarations
              Named Insured & Mailing Address
                                                                                       Agent Mailing Address & Phone No.
              DOLLAR PLUS & BEAUTY, INC
                                                                                      (610) 354-0111
              55 Downey Dr
                                                                                      UNITED ASIAN AGENCY INC
              Horsham, PA 19044
                                                                                      P0 BOX 230
    -.
                                                                                      WAYNE, PA 19087-0230


              Named Insured is: CORPORATION

              Named Insured Business Is: RETAIL VARIETY STORE

             In return for the payment of the premium, and subject to
                                                                      all the terms of this policy, we agree with you to
             provide the insurance as stated in this policy.
             SUMMARY OF COVERAGE PARTS AND CHARGES
             These Declarations together with the Businessowners Covera
                                                                        ge Form (and other applicable forms and endorsements,
             any, issued to form a part of them) complete this policy.                                                        if

             COVERAGE PART
                                                                                         CHARGES
             Commercial Protector
                                                                                      $3,538.00

                                                       Total Charges for all of the above coverage parts:
                                                       Certified Acts of Terrorism Coverage: $18.00                                   $3,538.00
                                                                                                                                     (Included)
                                                                                                                          Note: This is not a bill




            IMPORTANT            IXe1*

              Equipment Breakdown Enhancement Is Included           -   See Policy Forms and Endorsements summary




           Issue Date            07/02119
                                                                                              Authorized Representative

           To report a   claim, call your Agent or 1-800-362-0000

           DS 70 21 0108

                                                                                                                            Case ID: 210503091
07/02/19         58230224          POLSVCS     530                      PCXFPPNO            INSURED COPY      003759          PAGE   27   OF   170
                             Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 13 of 19
                                                                    Coverage is Provided In:
                             Liberty                                Ohio Security Insurance Company
                                                                                                                               PO1r Number:
                             Mutual.                                                                                           OZS (20) 50 23 0224
                             I NSURANCE                                                                                        Policy Period:
                                                                    175 Berkeley St., Boston, MA 02116                  I      FI'tilfl 08/31/2019 To 08/31/2020
                                                                                                                               12:01 am Standard Time
                                                                                                                               at Insured Mailing Location
                                                                    Common Policy Declarations

               Named Insnred
                                                                                                 Agent
              DOLLAR PLUS & BEAUTY, INC
                                                                                                 (610) 354-0111
              55 Downey Dr
                                                                                                 UNITED ASIAN AGENCY INC
              Horsham, PA 19044
                                                                                                 PD BOX 230
                                                                                                 WAYNE, PA 19087-0230
              SUMMARY OF LOCATION(S) AND PREMIUM(S)

              0001 7159 Ogontz Ave, Philadelphia, PA 19138-2015
                                                                                                                            $3,120.00


              This Section lists the Forms and Endorsements for your
                                                                     policy. Refer to these documents as needed for detailed
              information concerning your coverage.
             FORM NUMBER                       TITLE
             B? 00 03 07 13                     Businessowners Coverage Form
             UP 01 42 03 15                     Pennsylvania Changes
             UP 01 91 07 02                    Pennsylvania Notice
             BP 04 04 0110                     Hired Auto and Non-Owned Auto Liability
             UP 04 17 0110                     Employment Related Practices Exclusion
                                                                         -


             BP 04 97 01 06                    Waiver Of Transfer Of Rights Of Recovery Against Others
                                                                                                         To Us
             BP 05 23 0115                     Cap On Losses From Certified Acts Of Terrorism
             B? 05 77 01 06                    Fungi or Bacteria Exclusion (Liability)
             UP 06 07 05 11                    Pennsylvania Changes Defense Costs Endorsement
                                                                                   -


             B? 15 04 05 14                   Exclusion Access Or Disclosure Of Confidential Or Person
                                                                -
                                                                                                          al Information And
                                              Data-Related Liability With Limited Bodily Injury Exception
                                                                               -


             BP 79 19 09 16                   Businessowners Property Extension Endorsement
             UP 79 74 07 13                   Amendment of Pollution Exclusion (Premises)
             BP 79 96 09 16                   Businessowners Liability Extension Endorsement
             B? 8115 03 11                    Exclusion Asbestos
                                                            -


             BP 82 37 08 15                   Equipment Breakdown Coverage Endorsement
             UP 82 46 06 09                   Employment Related Practices Liability Coverage
                                                                     -


             B? 88 04 03 14                   Exclusion Professional Services (Real Estate Agents, Insura
                                                        -
                                                                                                          nce Agents, Travel
                                              Agents, Financial Services, Computer Software, Insurance
                                                                                                       Operations)


           In witness whereof, we have caused this policy to be signed
                                                                       by our authorized officers.


                             Q ~k         —
                                                                                       4       —X—
                       Mark Touhey                                                         Paul Condrin
                         Secretary                                                          President
           To report a claim, call   your Agent or 1-8O0362-O000
           DS 70 21 11 16
                                                                                                                                     Case ID: 210503091
07/02/19          58230224         POLSVCS     .530                            PCXFPPNO                  INSURED COPY   003759          PAGE   28   OF   170
                 CY
                            Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 14 of 19
                                                          Coverage Is Provided In:
                            Liberty                       Ohio Security Insurance Company                              Policy Number:
                            Mutual.                                                                                    8ZS (28) 5823 8224
                            INSURANCE                                                                                  Policy Period:
                                                          175 Berkeley St., Boston, MA 02116                           From O8/31l9fli T' 001/2020
                                                                                                                       12:01 am Standard Time
                                                         Commercial Protector Common                                   at Insured Mailing Location

                                                         Policy Declarations
               Named Insured
                                                                                       Agent
              DOLLAR PLUS & BEAUTY, INC
              55 Downey Dr                                                             (610) 354-0111
              Horsham, PA 19044                                                        UNITED ASIAN AGENCY INC
                                                                                       P0 BOX 230
                                                                                       WAYNE, PA 19087-0230
              POLICY FORMS AND ENDORSEMENTS
                                                                    -   CONTINUED
              This section lists the Forms and Endorsements
                                                            for your policy. Refer to these documents as neede
              information concerning your coverage.                                                            d for detailed
      -       FORM NUMBER                       flTLE
              OP 88 12 03 14                   Data Compromise Coverage
              HP 88 16 06 09                   Business Income Changes 24 Hour Time Period
                                                                            -

              BP 88 54 03 11                   Supplemental Extended Reporting Periods 60 Day
                                                                                          -        Request
              OP 88 77 07 13                   Identity Theft Administrative Services and Expen
                                                                                                se Coverage
              OP 88 78 07 13                   Business Personal Property Limit Automatic Increa
                                                                                   -
                                                                                                   se
              HP 88 90 03 14                   CyberOne Coverage




           To report a   claim, call your Agent or 1-800-362-0000

           DS 70 21 11 16
07/02/19
                                                                                                                            Case ID: 210503091
                 58230224          POLSVCS     530                      PCXFPPNO              INSURED COPY    003759          PAGE   29   OF   170
                            Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 15 of 19
                                                      Coverage Is Provided In:
                        Liberty
                        ~                             Ohio Security Insurance Company
                                                                                                             Policy Number:
                                                                                                             OZS (20) 50 23 02 24
                            utuaL                                                                            Policy Period:
                        INSURANCE
                                                                                                             From 08/31/2010 To 08/31/2020
                                                      Commercial Protector                                   12:01 am Standard Time
                                                                                                             at Insured Mailing Location
                                                      Policy Declarations
             Named Insured                                                         Agent
             DOLLAR PLUS & BEAUTY, INC                                            (610) 354-0111
                                                                                  UNITED ASIAN AGENCY INC

            SUMMARY OF LIMITS AND CHARGES

            8usluiessowners            DESCRIPTION                                                                            LIMIT
            Liability
            Limits of                  Liability and Medical Expenses Occurrence
                                                                        -
                                                                                                                           2 ,000 ,000
            Insurance                  Aggregate Limits of Insurance
                                                   Products-Completed Operations                                           4 ,000 ,000
                                                   Other than Products-Completed Operations                                4,000.000
                                       Broadened Coverage For Damage To Premises Rented To You                             2,000,000
                                       Medical Expenses (Any One Person)                                                       15,000

            Explanation of             DESCRIPTION                                                                            PREMIUM
            Charges
                                       Businessowners Location(s) Total                                                   83,120.00
                                       Bisinessowners Other Coverage(s) Total                                               8400.00
                                       Certified Acts of Terrorism Coverage                                                  $18.00
                                                                                  Total Charges:                         $3,538.00
                                                                                                             Note: This is not a bill




           To report a claim, call   your Agent or 1-800-382-0000
           DS 7022 01 08                                                                                            Case ID: 210503091
01/02/19         58230224            POLSVCS    530                  PCXFPPNO              INSURED COPY   003759       PAGE   31   OF   170
                            Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 16 of 19
                 Ift        ~
                            Ub=                        Coverage Is Provided In.
                                                       Ohio Security Insurance Company
                                                                                                                  Policy Number:

                                    .                                                                             BZS (21)) 5823 1)2 24
                            INSURANCE
                                                                                                              I Policy Period:
                                                                                                              I From 001019 To 08131/2020
                                                       Commercial Protector                                       12:01 am Standard Time
                                                                                                                  at Insured Mailing Location
                                                       Declarations Schedule
               Named Insured
                                                                                    Agent
               DOLLAR PLUS & BEAUTY, INC
                                                                                    (610) 354-0111
                                                                                    UNITED ASIAN AGENCY INC

               SUMMARY OF COVERAGES BY LOCATION

              0001   7159 Ogontz Ave, Philadelphia, PA
                                                       19138-2015

              Property                  Description:
              Characteristics

                                        Construction: Non-Combustible


             1)osiness
             Personal                   Occupancy: Variety Stores
             Property Coverage
                                     DESCRIPTION
                                    Limit of Insurance
                                    Covered Causes of Loss
                                                                                                                                 $156,060
                                    Special Form
                                    Deductible
                                                                                                                                      $500
                                    Automatic Increase Business Personal Property
                                                                                                                                           2%
                                                                                                Premium                         $3,120.00
            SUMMARY OF OTHER COVERAGES

            Employee               DESCRIPTION
            DistlohCSty            Limit of Insurance
            Iuchuffi19                                                                                                           $25,000
                                   Number of Employees
            Forgery and                                                                                                                    2
            Alteration             Deductible
                                                                                                                                      $500


                                                                                               Premium                          Included




           To report a claim, call your Agent or 1400-362-0
                                                            000

07/02119
           DS 70 23 01 08
                 58230224        POLSVCS       530
                                                                                                                      Case ID: 210503091
                                                                    PCXFPPNO             INSURED COPY    003759          PAGE    32   OF   170
                             Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 17 of 19
                                                    Coverage Is Provided In:
                       Liberty                      Ohio Security Insurance   Company                       1
                                                                                                                Policy Number:
                                                                                                                RZS (2t1) 58 230224
                       Mutual.
                         INSURANCE                                                                          I   Policy Period:
                                                                                                                From 08/31/2(1111 To 00/31/2020
                                                    Commercial Protector                                        12:01 am Standard Time
                                                                                                                at Insured Mailing Location
                                                    Declarations Schedule
              Named (neared                                                        Agent
              DOLLAR PLUS & BEAUTY, INC                                            (610) 354-0111
                                                                                   UNITED ASIAN AGENCY INC


             SUMMARY OF OTHER COVERAGES                -   continued
             Hired and                DESCRIPTION
  =   MOM    Non-Owned                Coverage Characteristics                                                      See Endorsement
             Ante
             Liability

                                                                                                 Premium                         $153.00
             Employment RelatedDESCRIPTION
             Practices          Aggregate Limit                                                                               $10 000 ,


                                     Each Claim Limit                                                                         $10,000
                                     Number of Employees                                                                            2
                                     Retroactive Date                                                                      08/31/2017
                                     Deductible                                                                                $5,000
                                     Coinsurance                                                                                   0%
                                                                                                 Premium                         $18.00
            Property                 DESCRIPTION
            Extension                See Endorsement
            Endorsement

                                                                                                 Premium                         $10.00
            Identity Recovery        DESCRIPTION
            Coverage for             See Endorsement
            Refined Individuals

                                                                                                Premium                          $12.00




            To report a claim, call your Agent or 1-800-362-0000

            DS 7023 0108                                                                                               Case ID: 210503091
07/02/19          58230224        PQLSVCS     530                      PCXFPPNO            INSURED COPY    003759         PAGE   33   OF   170
                            Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 18 of 19
                                                       Coverage Is Provided In:
                       Liberty                                                                                    Policy Number:
                                                       Ohio Security Insurance Company                            NZS (20) 50230224
                       Mutual.                                                                                    Policy Period:
                        INSURANCE
                                                                                                                  From 08/31/2019 To 08/31/2020
                                                       Commercial Protector                                       12:01 am Standard Time
                                                                                                                  at Insured Mailing Location
                                                       Declarations Schedule
             Named Insured                                                           Agent
             DOLLAR PLUS & BEAUTY, INC                                               (610) 354-0111
                                                                                     UNITED ASIAN AGENCY INC


            SUMMARY OF OTHER COVERAGES                    -   continued

            Data Compromise           DESCRIPTION
            Coverage                  See Endorsement
                                                                                                     Premium                       Included
                                      CyberOne Coverage
                                      DESCRIPTION
                                      See Endorsement
                                                                                                     Premium                       Included

                                                                                              Total Premium
            Businessowners Location(s) Total                                                                                       $3,120.00
            Businessowners Other Coverage(s) Total                                                                                  $400.00
            Businessowners Schedule Total                                                                                          $3,520.00




           To report a claim,   call your Agent or   1-800-362-0000

           DS 70 23 0108                                                                                                  Case ID: 210503091
07/02/19         58230224          POLSVCS     530                        PCXFPPNO           INSURED COPY      003759       PAGE    34   OF   170
                 Case 2:21-cv-03135-TJS Document 1-1 Filed 07/14/21 Page 19 of 19


Saevang, Lai

From:                             HOLegalMail <HOLegal Mail @LibertyMutual.com >
Sent:                             Monday, June 14, 2021 11:09 AM
To:                               LibertySOP
Subject:                          FW: Message from km554-49-0001
Attachments:                      Skm554-49-021061414040.pdf




Please upload to Litigation BB.


Thank you,
Alyssa
